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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA, et al., ex rel.
BENJAMIN MARTINEZ, JR., CONNIE
MORGAN, and CHRIS NEGRETE;

               Plaintiffs,                           CIVIL ACTION No: 17-CV-1059
       v.

APRIA HEALTHCARE GROUP, INC., and
APRIA HEALTHCARE LLC,

               Defendants.

  [PROPOSED] ORDER DISMISSING WITH PREJUDICE THE CLAIMS BROUGHT
   UNDER THE CALIFORNIA INSURANCE FRAUDS PREVENTION ACT (CIFPA)

       Pursuant to the Stipulation filed in this matter by Relators and Defendants it is hereby

ordered that all claims against Defendants, under the California Insurance Frauds Prevention Act,

Cal. Ins. Code §§ 1871.7 et seq. (the “CIFPA Claims”), are DISMISSED WITH PREJUDICE.



      1/12/2021
DATE: ______________                                SO ORDERED: __________________
                                                                     U.S.D.J.




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